Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 1 of 15 PageID #: 15872



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                       MEMORANDUM AND ORDER

             - against -                           15-cr-637(KAM)

 MARTIN SHKRELI,

                   Defendant.

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 MATSUMOTO, United States District Judge:

             Before the court is the government’s post-trial motion

 for forfeiture in this criminal securities fraud case, pursuant

 to Federal Rule of Criminal Procedure 32.2, Title 18 United

 States Code Section 981(a)(1)(C), Title 28 United States Code

 Section 2461(c), and Title 21 United States Code Section 853(p).

 (Government’s Motion (“Gov. Mot.”), ECF No. 464; Defendant’s

 Response (“Def. Resp.”), ECF No. 515; Government’s Reply (“Gov.

 Reply”), ECF No. 523; Defendant’s Sur-Reply (“Def. S.R.”), ECF

 No. 523.)    The court heard argument on the motion on February

 23, 2018.    (February 23, 2018 Transcript (“Tr.”).)         This order

 presumes familiarity with this court’s prior orders in this

 case, in particular the February 26, 2018 Memorandum and Order

 denying Mr. Shkreli’s Motion for Judgment of Acquittal and

 discussing the loss amount in this case.         (Memorandum and Order

 (“Rule 29 Order”), ECF No. 535.)
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 2 of 15 PageID #: 15873



            I. Standard of Review

                  A.    Criminal Forfeiture

            Pursuant to Title 18, United States Code Section

 981(a)(1)(C), a court may order the forfeiture of “[a]ny

 property . . . which constitutes or is derived from proceeds” of

 criminal securities fraud, through what the Second Circuit has

 described as a “roundabout statutory mechanism”:

            18 U.S.C. Section 981(a)(1)(C) allows a court to order
            forfeiture for ‘any offense constituting ‘specified
            unlawful activity’ as defined in 18 U.S.C.
            § 1956(c)(7).’ Section 1956(c)(7)(A) incorporates ‘any
            act or activity constituting an offense listed in 18
            U.S.C. § 1961(1).’ And § 1961(1)(D) lists ‘any offense
            involving . . . fraud in the sale of securities.’
            While § 981(a)(1)(C) is a civil forfeiture provision,
            it has been integrated into criminal proceedings via
            28 U.S.C. § 2461(c).

 United States v. Contorinis, 692 F.3d 136, 145 n.2 (2d Cir.

 2012) (alterations in the original).         “In cases involving

 illegal goods, illegal services, unlawful activities, and

 telemarketing and health care fraud schemes,” the term

 “proceeds” is defined to include “property of any kind obtained

 directly or indirectly, as the result of the commission of the

 offense giving rise to forfeiture.”        18 U.S.C. § 981(a)(2)(A).

 For cases involving “lawful goods or lawful services that are

 sold or provided in an illegal manner . . . proceeds means the

 amount of money acquired through the illegal transactions

 resulting in the forfeiture, less the direct costs incurred in


                                      2
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 3 of 15 PageID #: 15874



 providing the goods and services.”        18 U.S.C. § 981(a)(2)(B).

 Such “direct costs “shall not include any part of the overhead

 expenses of the entity . . . or any part of the income taxes

 paid by the entity.”      Id.

            The government has the burden of establishing that

 forfeiture is warranted by a preponderance of the evidence.

 United States v. Finazzo, 682 F. App'x 6, 14 (2d Cir. 2017)

 (citing United States v. Daudergas, 837 F.3d 212, 231 (2d Cir.

 2016)); United States v. Capoccia, 503 F.3d 103, 116 (2d Cir.

 2007) (citing United States v. Fruchter, 411 F.3d 377, 383 (2d

 Cir. 2005)).    In cases involving “lawful services . . . provided

 in an illegal manner,” the defendant has the burden of proving

 “direct costs” which may be deducted from the amount to be

 forfeited.    18 U.S.C. § 981(a)(2)(B).

                  B.    Substitute Assets

            The procedures in Title 21 United States Code Section

 853 apply to criminal forfeitures.        28 U.S.C. 2461(c); United

 States v. Capoccia, 402 F. App'x 639, 641 (2d Cir. 2010)

 (citing, inter alia, United States v. Kalish, 626 F.3d 165 (2d

 Cir. 2010)).    Pursuant to Section 853(p), if, because of acts or

 omissions of the defendant, property subject to forfeiture

 “cannot be located,” “has been transferred,” “has been placed

 beyond the jurisdiction of the court,” “has been substantially

 diminished in value,” or “has been commingled with other

                                      3
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 4 of 15 PageID #: 15875



 property which cannot be divided without difficulty,” “the court

 shall order the forfeiture of any other property of the

 defendant, up to the value of [the forfeitable] property.”             21

 U.S.C. § 853(p).

            II.   Discussion

                  A.    Counts Three and Six

            The government requests forfeiture of $2,998,000 on

 Count Three and $3,402,450 on Count Six.         These amounts

 represent the total investments by defrauded investors into Mr.

 Shkreli’s MSMB Capital and MSMB Healthcare hedge funds.            (Gov.

 Mot. at 5.)    Mr. Shkreli argues that no forfeiture is

 appropriate on either count. 1      In the alternative, Mr. Shkreli

 argues that any forfeiture amount for Counts Three and Six

 “should [] be significantly reduced by the amount of

 [investors’] money used to provide goods and services – i.e.

 purchase securities.”      (Def. S.R. at 5.)     In support of this

 argument, he provides only bare citations to various government

 exhibits, with minimal analysis.




 1 In opposing the government’s motion for forfeiture, Mr. Shkreli
 also argues that (1) investors in his MSMB hedge funds did not
 rely on his representations in choosing to invest in MSMB
 Capital and MSMB Healthcare, and (2) the forfeiture amount
 should be zero for both Counts Three and Six because “each of
 the[] investors received a robust return for their investments.”
 (See Def. Resp. at 5.) The court has considered, and rejected,
 these arguments in a prior order. (Rule 29 Order.)
                                      4
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 5 of 15 PageID #: 15876



            The court agrees with the parties 2 that the applicable

 definition of “proceeds” for this case is set forth in Title 18

 United States Code Section 981(a)(2)(B), which governs

 forfeiture for “lawful goods or lawful services . . . sold or

 provided in an illegal manner.”        18 U.S.C. § 981(a)(2)(B).       For

 such transactions, “the term ‘proceeds’ means the amount of

 money acquired through the illegal transactions resulting in the

 forfeiture, less the direct costs incurred in providing the

 goods or services.”     Id.   The Second Circuit has explained that

 Section 981(a)(2)(B) “supplies the definition of ‘proceeds’ in

 cases involving fraud in the purchase or sale of securities,”

 whereas Section 981(a)(2)(A) is reserved for cases involving

 “inherently unlawful” activity, such as “the sale of




 2 In their opening briefs, the parties agreed that the court
 should apply Section 981(a)(2)(B). (Gov. Mot. at 3 (“as the
 Second Circuit has held in the context of insider trading
 securities fraud cases, the applicable definition of proceeds is
 set forth in 18 U.S.C. § 981(a)(2)(B)”); Def. Resp. at 2.)
 Although the government acknowledged that the court should apply
 Section 981(a)(2)(B), the government noted in its reply brief
 and during oral argument that Mr. Shkreli’s conduct was “more
 like the fraud and inducement cases where the Second Circuit has
 held no costs or expenses should be deducted.” (Tr. 42:10-11
 (Section 981(a)(2)(B) is the “definition of proceeds to be
 applied here”); id. at 42:12-15 (contrasting this case with
 insider trading cases); Gov. Reply at 6 n.5; (“it is far from
 clear that [Section 981(a)(2)(B)’s] more limited definition[,]
 as opposed to the gross definition of ‘proceeds’ set forth in
 Section 981(a)(2)(A) should apply to . . . fraud cases[] such as
 this”).)


                                      5
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 6 of 15 PageID #: 15877



 foodstamps[] or a robbery.”       United States v. Contorinis, 692

 F.3d 136, 145 n.3 (2d Cir. 2012).

            Although the court will apply the definition of

 “proceeds” set forth in Section 981(a)(2)(B), the court

 concludes that Mr. Shkreli is not entitled to deduct “direct

 costs” from the forfeiture amounts in Counts Three and Six, for

 two related reasons:      First, he has not borne his burden of

 proving direct costs, and, second, the few purported direct

 costs he specifically references in his papers would not be

 deductible.

              With regard to Count Three, Mr. Shkreli argues that

 MSMB Capital’s trading losses, brokerage fees and trading

 commissions constitute “direct costs” under Title 18 United

 States Code Section 981(a)(2)(B), such that they reduce the

 forfeitable amount to, at most, $505,414.         (Def. S.R. at 5.)      As

 support, he cites MSMB Capital’s bank records, without any

 detailed analysis.     (Id.)   At oral argument, defense counsel

 also referenced MSMB Capital’s loss resulting from conduct in

 the OREX trade (see Rule 29 Order at 15-16 (testimony of Steven

 Stitch, describing the OREX trade)), as an example of the

 “direct costs” Mr. Shkreli incurred at MSMB Capital.           (Tr.

 45:16-23.)

            Not only does the defense fail to provide any detailed

 analysis of the various government exhibits Mr. Shkreli now

                                      6
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 7 of 15 PageID #: 15878



 proffers in support of his argument on direct costs, but the

 defense also ignores the jury’s verdict in this case.            By the

 time Mr. Shkreli lost MSMB Capital’s investment capital in the

 OREX trade, he had repeatedly lied to his investors regarding

 the size, nature, and performance of his fund.          (See, e.g., Rule

 29 Order at 58-62 (describing investor testimony).)           Investors

 believed, based on Mr. Shkreli’s representations, that MSMB

 Capital had tens of millions of dollars in assets, with a

 diversified investing strategy and third-party oversight.            (See

 id.)   Although MSMB Capital investors recognized the risks of

 investing in a hedge fund, they believed, also based on Mr.

 Shkreli’s representations, that the fund was diversified in

 long/short investments and had a record of positive performance.

 (See, e.g., id. at 8 (testimony of Sarah Hassan); 40-41

 (testimony of John Neill).)

            With regard to the OREX trade in particular, Mr.

 Shkreli falsely claimed to his execution broker, Merrill Lynch,

 that MSMB Capital’s prime broker, Interactive Brokers, had been

 able to obtain the necessary “locate” on OREX shares to enable

 the short trade.     (Id. at 15 (testimony of Steven Stitch

 explaining the purpose of a “locate”).)         In part as a result of

 Mr. Shkreli’s failure to follow the proper procedures in

 executing the trade, MSMB Capital suffered a multiple-million

 dollar loss, in excess of its assets.         Far from being a “direct

                                      7
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 8 of 15 PageID #: 15879



 cost” of “lawful services” within the meaning of Section

 981(a)(2)(B), the costs related to the OREX trade are the result

 of the fraudulent conduct for which Mr. Shkreli was convicted:

 he deceived investors into believing that they were invested in

 a sophisticated and diversified hedge fund, but chose instead to

 gamble the money entrusted to him on a series of improperly-

 conducted trades in a single stock.

            To the extent Mr. Shkreli’s other investments on

 behalf of MSMB Capital could be characterized as “lawful

 services” within the meaning of Section 981(a)(2)(B), he has not

 provided any detailed analysis or breakdown of MSMB Capital’s

 “direct costs” related to such investments, nor explained how

 any such costs of MSMB Capital should be deducted from his own

 forfeiture obligations.      See Contorinis, 692 F.3d at 145 n.3

 (Noting that because the defendant’s employer, and not the

 defendant himself, bore “all direct costs” in an insider trading

 case, “any money that [the defendant] can fairly be considered

 as having ‘acquired’ as a result of his [illegal] activities may

 be subject to forfeiture under § 981.”)         Therefore, he has

 failed to carry his burden.       See United States v. Mandell, 752

 F.3d 544, 554 (2d Cir. 2014) (holding that a defendant who

 “failed to present any evidence and no more than cursory

 argument” regarding direct costs “failed to meet his burden”)).



                                      8
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 9 of 15 PageID #: 15880



            As to Count Six, Mr. Shkreli argues that MSMB

 Healthcare invested $2,535,000 million into Retrophin, such that

 “the forfeiture amount would be, at most, $867,450.”           (Id.)    As

 with Mr. Shkreli’s arguments on Count Three, he has failed to

 provide any analysis or detailed explanation of why the court

 should deduct $2,535,000 million as “direct costs” from the

 total forfeiture amount.      Indeed, as the court has already

 explained, the trial evidence showed that (1) Mr. Shkreli

 improperly used MSMB Healthcare to funnel money to Retrophin,

 notwithstanding his representations that MSMB Healthcare was a

 diversified fund; and (2) Mr. Shkreli improperly used

 approximately $1.1 million of the money MSMB Healthcare invested

 into Retrophin for his own personal and unrelated professional

 obligations.    (Rule 29 Order, ECF No. 535 at 64-67; 86-88.)

 Even if Mr. Shkreli were to have made a more detailed submission

 regarding direct costs of MSMB Healthcare for Count Six, he

 would not be able to establish that his acts of improperly

 funneling investor money into Retrophin resulted in “direct

 costs” of providing a “lawful service[].”         Furthermore, as with

 Count Three, Mr. Shkreli has failed to provide any analysis to

 establish that any other trading activity in MSMB Healthcare

 resulted in legitimate “direct costs” to him.          See Mandell, 752

 F.3d at 554; Contorinis, 692 F.3d at 145 n.3.



                                      9
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 10 of 15 PageID #: 15881



                   B.    Count Eight

             With regard to Count Eight, the evidence at trial

 showed that Mr. Shkreli conspired with Retrophin’s attorney,

 Evan Greebel, and others, to control the price and trading of

 shares in Retrophin.      (Rule 29 Order at 67-78.)       In order to

 achieve this control, Mr. Shkreli and Mr. Greebel directed the

 distribution of the Fearnow shares to various Retrophin

 insiders.    (Id. at 68-71 (describing the “Fearnow shares”).)           In

 addition to using his control over some of the Fearnow shares to

 attempt to increase the trading price of Retrophin shares in the

 market, Mr. Shkreli used the shares to mollify frustrated

 investors in his MSMB Capital and MSMB Healthcare hedge funds.

 (Id. at 71-75.)

             The government now seeks forfeiture of $960,000, which

 it argues is the amount of the benefit Mr. Shkreli received,

 both indirectly and directly, from having his co-conspirators

 transfer Fearnow shares held in their names to two MSMB

 investors (Dr. Lindsay Rosenwald and Richard Kocher), to a

 Retrophin investor (Thomas Koestler), and to Mr. Shkreli

 himself.    (Gov. Mot. at 7.)     Mr. Shkreli argues that the

 government’s request is improper, because it has “nothing to do

 with the alleged conduct in Count Eight” and is instead related

 to the alleged conduct in Count Seven, of which the jury

 acquitted Mr. Shkreli.      (Def. Resp. at 5-6.)      Mr. Shkreli also

                                       10
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 11 of 15 PageID #: 15882



 argues that Mr. Shkreli’s co-conspirators transferred their

 Fearnow shares to the dissatisfied MSMB investors for their own

 legitimate reasons.      (Id. at 6 (“these three Fearnow recipients

 had their own financial interests in mind when they helped

 settle [the MSMB] claims as they stood to gain handsomely if

 Retrophin succeeded . . . and was not smothered in its infancy

 with lawsuits by MSMB investors.”))

             The court concludes that the Fearnow shares used to

 satisfy the demands of Dr. Rosenwald, Mr. Kocher, Mr. Koestler

 and Mr. Shkreli constituted property which “derived from” the

 transactions at issue in Count Eight.         See 18 U.S.C.

 §§ 981(a)(1)(C), (a)(2)(B). 3      The court has previously described

 in detail how Mr. Shkreli and Mr. Greebel obtained the Fearnow

 shares and distributed them to Retrophin and MSMB insiders.

 (Rule 29 Order at 68-71.)       As this court has also explained, Mr.

 Shkreli and Mr. Greebel extensively discussed how to use the

 Fearnow shares to compensate MSMB investors, and took action to

 try and prevent another “Pierotti problem” – a Fearnow share

 recipient refusing to accede to Mr. Shkreli’s directives

 regarding trading or not trading their Fearnow shares.            (Id. at

 74-75.)    Indeed, Mr. Shkreli specifically wrote in an email to

 3 For substantially the reasons stated in its discussion of
 Counts Three and Six, the court concludes that the definition of
 “proceeds” for Count Eight is determined by the application of
 Title 18 United States Code 981(a)(2)(B). See Contorinis, 692
 F.3d 145 n.3.
                                      11
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 12 of 15 PageID #: 15883



 Mr. Greebel that he wanted to make the transfers from the

 Fearnow shareholders “anonymous” if possible, so that the

 Fearnow shareholders “don’t know exactly where [their shares]

 are going.”    (Id. (quoting GX 271.))       Mr. Shkreli wrote to Mr.

 Greebel that after the Fearnow shares held in “escrow” were used

 to satisfy dissatisfied MSMB investors, “the rest” should be

 transferred to him.      (Id. (discussing GX 268); see id. at 50 n.8

 (describing the shares held in “escrow”).)          The government also

 introduced documentary evidence demonstrating that Mr. Shkreli

 and Mr. Greebel specifically directed the transfer of Retrophin

 shares to Mr. Koestler.       In February 2013, Mr. Greebel asked Mr.

 Shkreli whether to use “Fearnow stock or new restricted grant

 from company” to provide Mr. Koestler with the shares he should

 have received for investing in Retrophin in 2012.           (GX 370.)

 Mr. Shkreli responded “combo would be great.” (Id.)

             The trial evidence, therefore, supports the

 government’s position that Mr. Shkreli and Mr. Greebel – not the

 Fearnow shareholders themselves – made the decision to transfer

 the shares to Dr. Rosenwald, Thomas Koestler, Richard Kocher,

 and Mr. Shkreli.     The evidence also establishes that Mr. Shkreli

 used these transfers to stave off lawsuits or government

 investigations which may have targeted him personally, or which

 might have resulted in government investigations of the various

 improprieties in the MSMB hedge funds.         (See, e.g., id. at 22-23

                                      12
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 13 of 15 PageID #: 15884



 (describing testimony of Dr. Rosenwald, in which he stated that

 prior to settlement he had involved his legal counsel).)             Mr.

 Shkreli thereby received a personal benefit from the

 distribution of these shares.

             II.   Substitute Assets

             The government asks the court to approve the seizure

 of substitute assets, pursuant to Federal Rule of Criminal

 Procedure 32.2(e) and Title 21 United States Code Section

 853(p).    (Gov. Mot. at 9.)     The government provides the sworn

 declaration of FBI Special Agent Sean Sweeney to support its

 position that Mr. Shkreli has “transferred,” “substantially

 diminished,” or “commingled” the forfeitable assets, and thus

 mandating that “the court shall order the forfeiture of any

 other property of the defendant, up to the value of the

 [forfeitable property],” here $7,360,450.00.          (See Declaration

 of Special Agent Sean Sweeney, ECF No. 464-2 at ¶¶ 8-9 (stating

 that Special Agent Sweeney and other agents “have made a

 diligent effort to locate traceable proceeds to the offenses

 subject to forfeiture” but that such assets “appear to have been

 dissipated or otherwise disposed of.”)         The evidence at trial

 shows that direct proceeds of Mr. Shkreli’s criminal conduct

 were either dissipated (i.e. the OREX trade) or transferred to

 Retrophin or the MSMB investors, or Mr. Shkreli.



                                      13
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 14 of 15 PageID #: 15885



             Mr. Shkreli has opposed the forfeiture of substitute

 assets, in part because he owes significant amounts of money to

 New York State, the Internal Revenue Service, his accountants,

 and his attorneys. 4     (Def. Mot. at 7.)     Mr. Shkreli has provided

 no authority, however, for the proposition that otherwise

 forfeitable proceeds should not be subject to forfeiture because

 the defendant owes money to other potential creditors.




 4 Mr. Shkreli also noted that one of the substitute assets listed
 in the government’s initial proposed preliminary order of
 forfeiture had already been seized by New York State. (Def.
 Mot. at 7.) The government has addressed this issue in its
 revised proposed preliminary order of forfeiture. (See Revised
 Proposed Preliminary Order of Forfeiture, ECF No. 539-1.) To
 address Mr. Shkreli’s concerns about a premature “fire sale” of
 his stake in Vyera Pharmaceuticals (formerly known as Turing
 Pharmaceuticals), the government has also indicated that it does
 not oppose a stay of “that portion of a [preliminary order of
 forfeiture] authorizing the seizure of substitute assets . . .
 until completion of the appeal that [Mr.] Shkreli intends to
 file,” on the condition that the substitute assets be preserved
 pending any final decision on appeal. (Gov. Reply at 10.)
                                      14
Case 1:15-cr-00637-KAM Document 541 Filed 03/05/18 Page 15 of 15 PageID #: 15886



                                  Conclusion

             For the foregoing reasons, the court concludes that

 the government has established that forfeiture of substitute

 assets, up to $7,360,450.00, is warranted in this case.            As the

 government has requested, the court will so-order the

 government’s proposed preliminary order of forfeiture, which

 includes provisions ensuring the preservation of assets and

 appropriately staying seizure of assets pending appeal.            (See

 Revised Proposed Preliminary Order of Forfeiture at ¶¶ 10-11.)

 SO ORDERED.

 Dated: March 5, 2018
 Brooklyn, New York

                                           ____________/s/______________
                                           KIYO A. MATSUMOTO
                                           United States District Judge
                                           Eastern District of New York




                                      15
